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                                                  UNITED STATES DISTRICT COURT
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                                 CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
                   12
FAYER GIPSON LLP




                   13   JEFFERY R. WERNER, an individual,          CASE NO. 2:14-CV-6494-JFW (JCx)
                   14
                                     Plaintiff,                    NOTICE OF SETTLEMENT
                   15
                         v.
                   16                                              Judge:     Hon. John F. Walter
                        RESIGNATION MEDIA, LLC, an Indiana
                   17   Limited Liability Company;                 Motion Cut-off:        August 3, 2015
                        DESIGNATION HOLDINGS, LLC, a               Discovery Cut-off:     July 27, 2015
                   18   Delaware Limited Liability Company;        Pretrial Conf. Date:   August 28, 2015
                        KEEP CALM MANAGEMENT, INC., a              Trial Date:            September 8, 2015
                   19   California corporation; LEO RESIG, an
                        individual; BOB PHILLIPP, an individual;   Action Filed: August 18, 2014
                   20   and DOES 1-10, inclusive,
                   21                Defendants.
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                                                       NOTICE OF SETTLEMENT
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                    1   THE CLERK OF THE COURT, ALL PARTIES AND THEIR COUNSEL OF
                    2   RECORD:
                    3         PLEASE TAKE NOTICE that in accordance with Local Rule 16-15.7, 40-2,
                    4   and the instructions of the Court, Plaintiff hereby submits this Notice of Settlement to
                    5   notify the Court that the lawsuit has been settled, resolving the entire case. Pending the
                    6   occurrence of certain conditions precedent, Plaintiff anticipates filing a dismissal
                    7   without prejudice of the First Amended Complaint by July 15, 2015.
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                        DATED: June 15, 2015                     FAYER GIPSON LLP
                   10                                            GREGORY A. FAYER
                                                                 MINH Z. KUO
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                                                                 By:/s/Minh Z. Kuo____________
                                                                           MINH Z. KUO
FAYER GIPSON LLP




                   13                                            Attorneys for Plaintiff Cinezeta
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                                                       NOTICE OF SETTLEMENT
